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              ****EXECUTION SCHEDULED FOR JANUARY 14, 2021****

                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

---------------------------------x
- the Matter of the
In
Federal Bureau of Prisons’ Execution :
Protocol Cases,
                                     :
Lead Case: Roane et al. v. Barr                       Case No. 19-mc-00145 (TSC)
                                     :

THIS DOCUMENT RELATES TO:                       :

James H. Roane, Jr. et al. v. William Barr, :
Case No. 05-2337
---------------------------------x
-
  PLAINTIFF COREY JOHNSON’S MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiff Corey

Johnson (“Plaintiff”), by and through his undersigned counsel, hereby respectfully moves this

Court to issue a preliminary injunction barring Defendants from proceeding with his execution

pending resolution of Plaintiff’s as-applied challenge to the federal lethal-injection protocol

announced in July 2019 (the “2019 Protocol”) in light of Plaintiff’s infection with COVID-19. As

shown in the accompanying Memorandum of Points and Authorities, Plaintiff is likely to succeed

on his claim that the 2019 Protocol constitutes cruel and unusual punishment in violation of the

Eighth Amendment to the U.S. Constitution. Plaintiff, due to the effects of his COVID-19

infection, is likely to suffer irreparable injury in the absence of an injunction, and the equities

weigh in Plaintiff’s favor.   Accordingly, Plaintiff has satisfied this Court’s standard for a

preliminary injunction. Pursuant to Local Civil Rule 7(m), counsel for Plaintiff represents that

they have conferred with counsel for Defendants with respect to this motion, but that, after

conferring, Defendants oppose the motion.
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Dated: December 23, 2020
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